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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED     STATES          OF   AMERICA,      )               CASE NO. 8:09CR215
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                     ORDER
                                              )
GIAVANA CARRILLO,                             )
                                              )
              Defendant.                      )

       This matter is before the Court on the Defendant’s unopposed motion to expedite

sentencing (Filing No. 133).

       IT IS ORDERED that the Defendant’s motion to expedite sentencing (Filing No. 133)

is held in abeyance until the Court (1) rules on the pending Findings and Recommendation

regarding the plea, (2) receives the updated Presentence Investigation Report, and files

its Tentative Findings.

       DATED this 7th day of December, 2009.

                                                  BY THE COURT:

                                                  s/ Laurie Smith Camp
                                                  United States District Judge
